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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                       :    Case No. 22-
                                                :
         v.                                     :    VIOLATIONS:
                                                :
 WILLIAM TODD WILSON,                           :    COUNT 1:
                                                :    18 U.S.C. § 2384
                                                :    (Seditious Conspiracy)
                           Defendant.           :
                                                :    COUNT 2:
                                                :    18 U.S.C. § 1512(c)(2)
                                                :    (Obstruction of an Official Proceeding)

                                     INFORMATION

       The United States Attorney charges that, on or about the dates and at or around the times

set forth below:

                                           Introduction

                          The Transfer of Power in the United States

       1.      The United States Constitution and federal statutes codify the procedures and dates

governing the transfer of presidential power in the United States. The Twelfth Amendment

requires presidential electors to meet in their respective states and certify “distinct lists of all

persons voted for as President, and of all persons voted for as Vice-President, and of the number

of votes for each.” It further requires that the Vice President “shall, in the presence of the Senate

and House of Representatives, open all the certificates and the votes shall then be counted.” Title

3, Section 15 of the United States Code provides that the United States Congress must convene

during a joint session proceeding (“the Joint Session”) at 1:00 p.m. “on the sixth day of January

succeeding every meeting of the electors,” with the Vice President presiding, to count the electoral

votes, resolve any objections, certify their validity, and announce the result (“Certification of the

Electoral College vote”). The Twentieth Amendment provides that the terms of the President and
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Vice President shall accordingly end at noon on the 20th day of January, “and the terms of their

successors shall then begin.”

            Plot to Oppose by Force the 2020 Lawful Transfer of Presidential Power

       2.       The 2020 United States Presidential Election (“Presidential Election”) occurred on

November 3, 2020. As of November 7, 2020, the incumbent President Donald J. Trump was

projected to have lost the Presidential Election.

       3.       After the Presidential Election, Elmer Stewart Rhodes III, along with WILLIAM

TODD WILSON, conspired with their co-defendants and other co-conspirators, known and

unknown to the Grand Jury, to oppose by force the lawful transfer of presidential power. Rhodes,

a 55-year-old resident of Granbury, Texas, was the founder and leader of the Oath Keepers, a large

but loosely organized collection of individuals, some of whom are associated with militias.

WILSON, a 44-year-old military and law enforcement veteran, was an Oath Keeper member since

2016. He is a resident of Sampson County, North Carolina, and on the date of the offense, was a

county leader of the North Carolina chapter of the Oath Keepers. Some members of the Oath

Keepers, like WILSON, believe that the federal government has been coopted by a cabal of elites

actively trying to strip American citizens of their rights. Though the Oath Keepers will accept

anyone as members, they explicitly focus on recruiting current and former military, law

enforcement, and first-responder personnel. The organization’s name alludes to the oath sworn by

members of the military and police to defend the Constitution “from all enemies, foreign and

domestic.” On their website, the “Oath Keepers declare they will not obey unconstitutional

orders.”

       4.       Rhodes and certain co-conspirators, to include selected regional leaders such as

WILSON, planned to stop the lawful transfer of presidential power by January 20, 2021, which

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included multiple ways to deploy force. They coordinated travel across the country to enter

Washington, D.C., equipped themselves with a variety of weapons, donned combat and tactical

gear, and were prepared to answer Rhodes’s call to take up arms at Rhodes’s direction. WILSON

and other co-conspirators also amassed firearms on the outskirts of Washington, D.C.⸻some

distributed across hotels and “quick reaction force” (“QRF”) teams⸻and planned to use them in

support of their plot to halt the lawful transfer of power.

                                       COUNT ONE
                         (Seditious Conspiracy—18 U.S.C. § 2384)

       5.      The introductory allegations set forth in paragraphs 1 through 4 are re-alleged and

incorporated by reference as though set forth herein.

       6.      From in and around November 2020, through in and around January 2021, in the

District of Columbia and elsewhere, the defendant,

                                  WILLIAM TODD WILSON,

did knowingly conspire, confederate, and agree, with other persons known and unknown to the

Grand Jury, by force to prevent, hinder, and delay the execution of any law of the United States.

                                     Purpose of the Conspiracy

       7.      The purpose of the conspiracy was to oppose the lawful transfer of presidential

power by force, by preventing, hindering, or delaying by force the execution of the laws governing

the transfer of power, including the Twelfth and Twentieth Amendments to the Constitution and

Title 3, Section 15 of the United States Code.

                                        Manner and Means

       8.      WILSON and his co-conspirators carried out the conspiracy through the following

manner and means, among others:


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a. Preparing for and coordinating travel to Washington, D.C., to use force to stop the

   lawful transfer of presidential power;

b. Organizing into teams that were prepared and willing to use force and to transport

   firearms and ammunition into Washington, D.C.;

c. Recruiting members and affiliates to participate in the conspiracy;

d. Organizing trainings to teach and learn paramilitary combat tactics;

e. Bringing and contributing firearms, ammunition, and related equipment to the QRF

   staging area outside Washington, D.C.;

f. Bringing and contributing paramilitary gear, weapons, and supplies—including

   knives, batons, camouflaged combat uniforms, tactical vests with plates, helmets,

   eye protection, and radio equipment—to the Capitol grounds;

g. Breaching and attempting to take control of the Capitol grounds and building on

   January 6, 2021, in an effort to prevent, hinder, and delay the Certification of the

   Electoral College vote;

h. Using force against law enforcement officers while inside the Capitol on January

   6, 2021;

i. Continuing to plot, after January 6, 2021, to oppose the lawful transfer of

   presidential power by force; and

j. Using websites, social media, text messaging, and encrypted messaging

   applications to communicate with co-conspirators and others.

       (In violation of Title 18, United States Code, Section 2384)




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                                          COUNT TWO
                                      (18 U.S.C. § 1512(c)(2))
                               (Obstruction of an Official Proceeding)

        9.      Paragraphs 1 through 4 of this Indictment are re-alleged and incorporated as though

set forth herein.

        10.     On or about January 6, 2021, in the District of Columbia and elsewhere, the

defendant,

                                     WILLIAM TODD WILSON,

attempted to, and did, corruptly obstruct, influence, and impede an official proceeding, that is, the

Certification of the Electoral College vote.

                    (In violation of Title 18, United States Code, Section 1512(c)(2))



                                                 Respectfully submitted,

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